Case 8:22-cv-01562-JWH-KES      Document 72       Filed 07/11/23   Page 1 of 4 Page ID
                                     #:1388



  1 BRIAN R. BLACKMAN (SBN 196996)
    bblackman@blaxterlaw.com
  2 J.T. WELLS BLAXTER (SBN 190222)
    wblaxter@blaxterlaw.com
  3 DAVID P. ADAMS (SBN 312003)
    dadams@blaxterlaw.com
  4 BLAXTER | BLACKMAN LLP
    601 Montgomery Street, Suite 1110
  5 San Francisco, California 94111
    Telephone: (415) 500-7700
  6
    Attorneys for defendant WHOLE FOODS
  7 MARKET SERVICES, INC., WHOLE
    FOODS MARKET CALIFONRIA, INC.
  8 and MRS. GOOCH’S NATURAL FOOD
    MARKETS, INC.
  9

 10                             UNITED STATES DISTRICT COURT

 11                            CENTRAL DISTRICT OF CALIFORNIA

 12 SARA SAFARI, PEYMON KHAGHANI, and               Case No. 8:22-cv-01562-JWH (KESX)
    JASON ROSE, on behalf of themselves and all
 13 others similarly situated, and FARM             STIPULATATION FOR ENTRY OF
    FORWARD, on behalf of the general public,       ESI DISCOVERY PROTOCOLS
 14
                    Plaintiffs,                     [Discovery Document: Referred to
 15                                                 Magistrate Judge Karen E. Scott]
            v.
 16
    WHOLE FOODS MARKET, INC., a Texas
 17 corporation,

 18               Defendant.
 19

 20

 21

 22

 23

 24

 25

 26

 27
                                                                  Case No. 8:22-cv-01562-JWH (KESx)
 28
                                                       STIPULATION FOR ENTRY OF ESI PROTOCOLS
Case 8:22-cv-01562-JWH-KES       Document 72      Filed 07/11/23   Page 2 of 4 Page ID
                                      #:1389



  1         Plaintiffs Sara Safari, Peymon Khaghani, (“Consumer Plaintiffs”), nonprofit
  2 organization Plaintiff Farm Forward (collectively, “Plaintiffs”), and defendants

  3 Whole Foods Market Services, Inc. (“WFM Services”), Whole Foods Market

  4 California, Inc. (“WFM California”) and Mrs. Gooch’s Natural Food Markets, Inc.

  5 (“Mrs. Gooch’s” and collectively “Defendants”) stipulate and agree as follows:

  6         1.     Plaintiffs served WFM Services with their first set of Requests for
  7 Production (the “RFPs”) on February 10, 2023.

  8         2.     WFM Services served timely responses to Plaintiffs’ RFPs on March
  9 13, 2023, asserting that responsive documents to RFP Nos. 8-22, 24, 27, and 29

 10 were likely stored in the electronic files of certain custodians in the employ of

 11 Defendants. Defendants offered to meet and confer with Plaintiffs to arrive at

 12 mutually agreeable protocols to govern the discovery of electronically stored

 13 information (“ESI”) in response to RFP Nos. 8-22, 24, 27, and 29 and in this case

 14 generally.

 15         3.     Defendants served Plaintiffs with their first sets of RFPs on March 29,
 16 2023. Plaintiffs served timely written responses on April 28, 2023 and May 22,

 17 2023. Defendants believe a complete response to its RFPs will require Plaintiffs to

 18 locate, review, process and produce ESI in their possession, custody and control.

 19         4.     The parties have met and conferred over protocols for locating,
 20 identifying and producing ESI discovery.

 21         5.     The parties, therefore, stipulate and agree that the “[PROPOSED]
 22 STIPULATED ORDER CONCERNING ESI DISCOVERY PROTOCOLS” (the

 23 “Order”) submitted with this Stipulation should be entered by the Court and will

 24 govern the process for locating, identifying and producing ESI in this case as a

 25 supplement to the Federal Rules of Civil Procedure (“FRCP”), and any other

 26 applicable orders in this action. Nothing in the Order shall limit a party’s right to

 27 rely on the Stipulated Protective Order entered in this action on December 14, 2022

 28 (ECF No. 44), or to object to the authenticity or admissibility of any hardcopy
                                           -1-                  Case No. 8:22-cv-01562-JWH (KESx)
                                                       STIPULATION FOR ENTRY OF ESI PROTOCALS
Case 8:22-cv-01562-JWH-KES   Document 72       Filed 07/11/23   Page 3 of 4 Page ID
                                  #:1390



  1 documents or ESI produced in accordance with these protocols.

  2       IT IS SO STIPULATED, through Counsel of Record.
  3 DATED: July 11, 2023                 Respectfully submitted,
  4

  5
                                        /s/
                                        Paige M. Tomaselli (SBN 237737)
  6                                     Dylan D. Grimes (SBN 302981)
                                        GRIME LAW LLP
  7                                     730 Arizona Avenue
                                        Santa Monica, CA 90401
  8                                     Telephone: (310) 747-5095
                                        ptomaselli@grimelaw.com
  9                                     dgrimes@grimelaw.com

 10                                     Gretchen Elsner (pro hac vice)
                                        ELSNER LAW & POLICY, LLC
 11                                     314 South Guadalupe Street, Suite 123
                                        Santa Fe, NM 87501
 12                                     Telephone: (505) 303-0980
                                        gretchen@elsnerlaw.org
 13
                                        Attorneys for Plaintiffs
 14

 15 Dated: July 11, 2023                BLAXTER | BLACKMAN LLP
 16

 17
                                  By:   /s/ David P. Adams
 18
                                                  BRIAN R. BLACKMAN
 19                                               J.T. WELLS BLAXTER
                                                      ERIN W. KEEFE
 20                                                  DAVID P. ADAMS
                                                  Attorneys for Defendant
 21                                       WHOLE FOODS MARKET SERVICES,
                                             INC., WHOLE FOODS MARKET
 22                                      CALIFONRIA, INC. and MRS. GOOCH’S
                                            NATURAL FOOD MARKETS, INC.
 23

 24

 25

 26

 27

 28
                                         -2-                   Case No. 8:22-cv-01562-JWH (KESx)
                                                    STIPULATION FOR ENTRY OF ESI PROTOCALS
Case 8:22-cv-01562-JWH-KES     Document 72      Filed 07/11/23   Page 4 of 4 Page ID
                                    #:1391



  1                                   ATTESTATION
  2        I, David P. Adams, am the ECF User whose identification and password are
  3 being used to file STIPULATATION FOR ENTRY OF ESI DISCOVERY

  4 PROTOCOLS. In compliance with Civil L.R. 5-4.3.4(a)(2)(i), I attest that Paige M.

  5 Tomaselli concurred in this filing.

  6

  7                                                       /s/David P. Adams
                                                            David P. Adams
  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28
                                          -3-                   Case No. 8:22-cv-01562-JWH (KESx)
                                                     STIPULATION FOR ENTRY OF ESI PROTOCALS
